


  Upon consideration of the notice of appeal from the North Carolina Court of Appeals, filed by the Plaintiff on the 22nd day of January 2008 in this matter pursuant to G.S. 7A-30, and the motion to dismiss the appeal for lack of substantial constitutional' question filed by the Defendants, the following order was entered and is hereby certified to the North Carolina Court of Appeals: the motion to dismiss the appeal is
 

  "Allowed by order of the Court in conference, this the 26th day of August 2008."
 

  Upon consideration of the petition filed on the 22nd day of January 2008 by Plaintiff in this matter for discretionary review of the decision of the North Carolina Court of Appeals pursuant to G.S. 7A-31, the following order was entered and is hereby certified to the North Carolina Court of Appeals: "Denied by order of the Court in conference, this the 26th day of August 2008."
 

  Upon consideration of the petition filed by Plaintiff on the 30th day of January 2008 in this matter for discretionary review under G.S. 7A-31 prior to a determination by the North Carolina Court of Appeals, the following order was entered and is hereby certified to the North Carolina Court of Appeals:
 

  "Denied by order of the Court in conference, this the 26th day of August 2008."
 
